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                                Declaration of William Botsch
I, William Botsch, make the following declaration based on my personal knowledge and declare
under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correct:
   1. Since May 22, 2025, I have observed immigration court proceedings at the Miami
      Immigration Court. Thus far, I have observed 10 days of proceedings.

   2. During that time, I have seen at least 47 cases where counsel from the Immigration and
      Customs Enforcement (ICE) Office of the Principal Legal Advisor (OPLA) moved to
      dismiss a noncitizen’s immigration court proceedings. In making these motions, OPLA
      generally cites 8 C.F.R. § 239.2(a)(7) and states that the continuation of the proceedings
      is no longer in the best interests of the government. In most of the cases I observed, the
      immigration judge granted the motion to dismiss.

   3. In the hallway outside the courtroom, there have been groups of between 4 and 12 ICE
      enforcement agents who have arrested noncitizens after OPLA moved to dismiss their
      case. These agents appear to have photos and descriptions of the noncitizens, sometimes
      relayed from other ICE agents who are inside the courtroom; for example, I once was
      stopped when I was wearing the same color shirt as someone whose case had been
      dismissed.

   4. After noncitizens have been detained at the immigration court, I have attempted to locate
      them on the ICE Online Detainee Locator System (ODLS) using information I obtained
      from the court hearings, the posted docket, and the noncitizens' family members. In the
      days after their detention, several of the noncitizens have no longer appeared on ODLS,
      after previously appearing in the system. This suggests that they are no longer in DHS
      custody, most likely because they had already been removed from the United States. For
      example, three Venezuelan noncitizens who were detained on May 29 and 30, 2025
      initially showed up in the system in the day or two following their arrests but no longer
      showed up on ODLS as of the morning of June 4, 2025. The family of one of these men
      has confirmed to me that the man was already removed and is now in Venezuela.

   5. Other people observing in the Miami Immigration Court told me about the case of a
      Cuban man whose case was dismissed; as the man was being arrested in the hallway, he
      started strangling himself and yelling that he would rather kill himself than be sent back
      to Cuba. I later became aware of a news article that was published about this case, which
      can be found here: Jackie Llanos, Cuban Man Tries to Strangle Himself Following Arrest
      in Miami Immigration Court, Florida Phoenix (May 30, 2025),
      https://floridaphoenix.com/2025/05/30/cuban-man-tries-to-strangle-himself-following-
      arrest-in-miami-immigration-court/.


I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
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Executed on June 9, 2025




William Botsch
